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                                          UNITED STATES DISTRICT COURT
                                                  DISTRICT OF MARYLAND

               CHAMBERS OF                                                                     101 WEST LOMBARD STREET
              BETH P. GESNER                                                                  BALTIMORE, MARYLAND 21201
CHIEF UNITED STATES MAGISTRATE JUDGE                                                                   (410) 962-4288
      MDD_BPGchambers@mdd.uscourts.gov                                                              (410) 962-3844 FAX

                                                                  August 3, 2021

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                    Subject:      Gross, et al. v. P.O. Hopkins
                                  Civil No.: BPG-17-3479

           Dear Counsel:

                  I have reviewed plaintiff’s Motion Requesting Emergency Continuance. (ECF No.
           106). The only upcoming deadlines in this case are the dispositive pretrial motions deadline on
           August 16, 2021 and the parties’ settlement conference scheduled for August 20, 2021 with Judge
           Day.

                   Regarding the settlement conference, the parties should contact Judge Day’s chambers
           regarding the request to postpone the settlement conference. Regarding the dispositive pretrial
           motions deadline, defendant has indicated that he plans to file a motion by the August 16th
           deadline, which means plaintiff’s response would be due on or around August 30, 2021. Before
           the court considers fully suspending the schedule in this case, I ask that the parties confer regarding
           any proposed extensions to the dispositive pretrial motions deadline or plaintiff’s response to
           defendant’s motion that might address plaintiff’s counsel’s needs. Another option, if plaintiff’s
           counsel believes the requested suspension of the schedule will be significant, and plaintiff and
           defendant consent, would be for the court to administratively close this case with the understanding
           that the parties would provide me with a further status report within 60 days of closing the case.

                    Please confer and let me know how the parties wish to proceed by no later than August 6,
           2021.


                  Despite the informal nature of this letter, it will constitute an Order of the court and will be
           docketed accordingly.


                                                                  Very truly yours,


                                                                         /s/
                                                                  Beth P. Gesner
                                                                  Chief United States Magistrate Judge
